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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA                           )
 ex rel. LORI MORSELL, et al.,                      )
                                                    )
                 Plaintiffs,                        )
                                                    )
          v.                                        )        Civil Action No. 12-0800 (RC)
                                                    )
 NORTONLIFELOCK INC.                                )
 (f/k/a SYMANTEC CORPORATION),                      )
                                                    )
                 Defendant.                         )
                                                    )

           STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff the State of Florida and Relator Lori Morsell hereby give notice that all claims

asserted by the State of Florida in this action are voluntarily dismissed with prejudice pursuant to

Rule 41 of the Federal Rules of Civil Procedure.

Dated: September 10, 2021



ASHLEY MOODY                                       LONDON & MEAD
Attorney General of the State of Florida

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